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 1   GALATEA DeLAPP, 181581
     Attorney at Law
 2   1541 E. Fairmont Avenue 104
     Fresno, CA 93704
 3   Telephone: (559) 803-0471

 4

 5   Attorney for Defendant: MICHELLE MADEWELL

 6

 7                                   UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9

10    UNITED STATES OF AMERICA,                      No. 1:18-CR-00126 DAD-BAM

11                      Plaintiff,                STIPULATION & ORDER FOR
                                                  CONTINUING SENTENCING DATE
12           v.

13    MICHELLE MADEWELL, et al.

14                      Defendants.

15

16

17

18          THE PARTIES HEREBY STIPULATE, through their respective attorneys of record,

19   Assistant United States Attorney Vincenza Raben, counsel for the government, and Galatea R.
20
     DeLapp, counsel for defendant MICHELLE MADEWELL, that the sentencing currently set in
21
     this matter for August 12, 2019, be continued to September 3, 2019 and that any and all
22
     sentencing memorandum for the parties be extended accordingly.
23
            The parties have agreed to this so that there will be an opportunity to assess an alternative
24

25   custody and treatment option related to sentencing. The results of the assessment will impact the

26   contents of the sentencing memorandum for the defesne.
27          IT IS SO STIPULATED.
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                                                       1
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 1                                            Respectfully submitted,
 2

 3          DATE: August 5, 2019                       /s/ Galatea DeLapp
                                                      Galatea DeLapp
 4                                                    Attorney for Defendant
                                                      MICHELLE MADEWELL
 5

 6                                                   McGREGOR W. SCOTT
                                                     United States Attorney
 7

 8                                         By:        /s/ Vincenza Raben
                                                      Vincenza Raben
 9                                                   Assistant U.S. Attorney

10
                                                  ORDER
11

12   The court has reviewed and considered the stipulation of the parties to continue the sentencing in
13   this case. Good cause appearing, the sentencing hearing as to the above-named defendant
14   currently scheduled for August 12, 2019 is continued until September 3, 2019, at 10:00 a.m. in
15   courtroom 5 before District Judge Dale A. Drozd. Current informal and formal response
16   deadlines to the presentence report are also extended accordingly.
17

18   IT IS SO ORDERED.

19      Dated:     August 6, 2019
                                                       UNITED STATES DISTRICT JUDGE
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